                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1-12-CR-15-CLC-SKL-16
v.                                                   )
                                                     )
JEROME ADAM WHITMIRE                                 )
                                                     )

                                 MEMORANDUM AND ORDER

       JEROME ADAM WHITMIRE (“Supervised Releasee”) appeared for a hearing before the
undersigned on April 16, 2015, in accordance with Rule 32.1 of the Federal Rules of Criminal
Procedure on the Amended Petition for a Warrant or Summons for an Offender Under Supervision
(“Amended Petition”). Those present for the hearing included:

               (1)     An Assistant United States Attorney for the Government;
               (2)     Supervised Releasee; and
               (3)     An Attorney with Federal Defender Services of Eastern
                       Tennessee (“FDS”) for the Supervised Releasee.

        After being sworn in due form of law, Supervised Releasee was informed or reminded of his
privilege against self-incrimination accorded him under the Fifth Amendment to the United States
Constitution. It was determined that Supervised Releasee wished to be represented by an attorney
and he qualified for appointed counsel. FDS was appointed to represent Supervised Releasee. It was
also determined that Supervised Releasee had been provided with and reviewed with counsel a copy
of the Amended Petition.

        The Government moved that Supervised Releasee be detained without bail pending his
revocation hearing before U.S. District Judge Curtis L. Collier. Supervised Releasee waived his right
to a preliminary hearing and a detention hearing.

                                             Findings

       Based upon the Amended Petition and waiver of preliminary hearing, the Court finds
       there is probable cause to believe Supervised Releasee has committed violations of
       his condition of supervised release as alleged in the Amended Petition.

                                            Conclusions

       It is ORDERED:

       (1) Supervised Releasee shall appear for a revocation hearing before U.S. District
       Judge Collier.



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      (2) The Government’s motion that supervised releasee be DETAINED WITHOUT
      BAIL pending his revocation hearing before Judge Collier is GRANTED.

      (3) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
      before Judge Collier on Thursday, June 11, 2015 at 9:00 a.m. [EASTERN].

      SO ORDERED.

      ENTER:

                                         s/fâátÇ ^A _xx
                                         SUSAN K. LEE
                                         UNITED STATES MAGISTRATE JUDGE




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